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17
                           UNITED STATES DISTRICT COURT
18                        NORTHERN DISTRICT OF CALIFORNIA

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     LINDA CHRISTENSEN,                             CASE NO.: 5:19-cv-01444-NC
20
                   Plaintiff,                       STIPULATION OF DISMISSAL
21
     v.
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     BMW OF NORTH AMERICA, LLC,
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                   Defendant.
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     Christensen v. BMW of North America, LLC                            Stipulation of Dismissal
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 1          IT IS HEREBY STIPULATED by and between the parties to this action through their

 2   designated counsel that the above-captioned action be and hereby is dismissed with prejudice

 3   pursuant to FRCP 41(a)(1).

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 5   Dated: January 7, 2020                                LAW OFFICES OF JON JACOBS

 6
                                                           /s/ Terry L. Baker__________________
 7                                                         Terry L. Baker
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     Dated: January 7, 2020                                MORGAN, LEWIS & BOCKIUS LLP
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12                                                         /s/ Garrick Y. Chan (auth on 1/7/2020)
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13                                                         Attorneys for Defendant
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     Christensen v. BMW of North America, LLC                                  Stipulation of Dismissal
